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 1    MANDOUR & ASSOCIATES, APC
      JOSEPH A. MANDOUR, III (SBN 188896)
 2    Email: jmandour@mandourlaw.com
      BEN T. LILA (SBN 246808)
 3    Email: blila@mandourlaw.com
      2030 Main Street, Suite 1300
 4    Irvine, CA 92614
 5
      Telephone: (949) 474-9330
      Facsimile: (949) 474-9390
 6    Attorneys for Defendants,
      CLAY’S CLASSICS and
 7    RON HATFIELD
 8
                              UNITED STATES DISTRICT COURT
 9
                             CENTRAL DISTRICT OF CALIFORNIA
10
                                     EASTERN DIVISION
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12                                             )
13
           KAKEDAN, INC., a Delaware           )   Civil Case No. 15 CV 1116 DMG (JPRx)
           Corporation,
                                               )
14
                Plaintiff,                     )   DEFENDANTS CLAY’S CLASSICS
15                                             )   AND RONALD HATFIELD’S
                v.
                                               )   NOTICE OF AUTOMATIC STAY
16
           CLAY’S CLASSICS, a business         )
17         entity of unknown status,           )
           RONALD HATFIELD, an
18         Individual; and DOES 1-             )
           10, Inclusive,                      )
19                                             )
                Defendants.
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                                                               Case No. 15 CV 1116 DMG (JPRx)
              DEFENDANTS CLAY’S CLASSICS AND RONALD HATFIELD’S NOTICE OF AUTOMATIC STAY
     Case 2:15-cv-01116-DMG-JPR Document 32 Filed 09/29/15 Page 2 of 3 Page ID #:141




 1          Pursuant to the bankruptcy filing of defendants Clay’s Classics and Ronald
 2    Hatfield under Chapter 7 of the United States Bankruptcy Code entered on
 3    September 17, 2015 as U.S. Bankruptcy Court, Southern District of California,
 4    Case No. 2:15-cv-01116-DMG-JPR, defendants hereby give notice that all
 5    proceedings in this above captioned matter are hereby automatically stayed
 6    pursuant to 11 U.S.C. § 362(a).
 7
 8                                      Respectfully submitted,
 9    Dated: September 29, 2015         MANDOUR & ASSOCIATES, APC
10
11
                                              /s Ben T. Lila
12                                      Ben T. Lila (SBN 246808)
13                                      Email: blila@mandourlaw.com
                                        Attorneys for Counterclaimants and Defendants,
14                                      CLAY’S CLASSICS and
15                                      RON HATFIELD
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                                                             Case No. 15 CV 1116 DMG (JPRx)
            DEFENDANTS CLAY’S CLASSICS AND RONALD HATFIELD’S NOTICE OF AUTOMATIC STAY
     Case 2:15-cv-01116-DMG-JPR Document 32 Filed 09/29/15 Page 3 of 3 Page ID #:142




 1                              CERTIFICATE OF SERVICE
 2          I hereby certify that on September 29, 2015, I electronically filed the
 3    foregoing DEFENDANTS CLAY’S CLASSICS AND RONALD HATFIELD’S
 4    NOTICE OF AUTOMATIC STAY with the Clerk of the Court using the CM/ECF
 5    system, which will send notification of such filing to all counsel of record.
 6
 7
                                             By: /s Ben T. Lila
 8
                                             Ben T. Lila
 9                                           Email: blila@mandourlaw.com
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                                                             Case No. 15 CV 1116 DMG (JPRx)
            DEFENDANTS CLAY’S CLASSICS AND RONALD HATFIELD’S NOTICE OF AUTOMATIC STAY
